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                         UNITED STATES DISTRICT COURT

                                 DISTRICT OF MINNESOTA


Leah Harris, on behalf of her sons, T.H.         Case No. 23-cv-2384 (ADM/DLM)
and D.H.; and Tara Behl, on behalf of
her son, T.N.,

                    Plaintiff,

v.

Richfield Public Schools; Steven
Unowsky, Superintendent, in his personal
capacity; Stacy Theien-Collins,                      NOTICE OF APPEARANCE
Principal, in her personal capacity;
Steven Flucas, Assistant Principal, in his
Personal capacity; Carrie Vala, Assistant
Principal, in her personal capacity; and
Michael Harris, Teacher on Special
Assignment, in his personal capacity,

                    Defendants.


       YOU WILL PLEASE TAKE NOTICE that the undersigned attorney hereby
notifies the Court and counsel that Squires, Waldspurger & Mace, P.A., through the
attorney Abigail R. Kelzer, shall appear as counsel of record for the Defendants
Independent School District No. 280, Richfield Public Schools, Steven Unowsky, Stacy
Theien-Collins, Steven Flucas, Carrie Vala, and Michael Harris.
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                                  SQUIRES, WALDSPURGER & MACE P.A.


Dated: October 6, 2023            /s/ Abigail R. Kelzer_____________
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